                             UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF TENNESSEE


                                               )
Smithway Motor Xpress, Inc., et al.            )
                                               )   Case No.: 3:12cv1063
v.                                             )   Judge Nixon
                                               )
James A. Scott & Sons, Inc., et al.            )
                                               )

                                      ENTRY OF JUDGMENT


              Judgment is hereby entered for purposes of Rule 58(a) and/or Rule 79(a) of the
Federal Rules of Civil Procedure on February 8, 2013.




                                                   KEITH THROCKMORTON, CLERK
                                                   s/ Robbie Dail, Deputy Clerk




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